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                          IN THE UNITED STATES DISTRICT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 JOHNSON MEDICAL ASSOCIATES,                      §
                                                  §
                Plaintiff,                        §
 v.                                               §     CIVIL ACTION NO. 3:15-CV-00638-M
                                                  §
 STATE FARM LLOYDS,                               §
                                                  §
                Defendant.                        §
                                                  §

                                           JUDGMENT

       For the reasons stated in the Memorandum Opinion and Order filed August 27, 2015,

Plaintiff’s claims and causes of action are dismissed without prejudice, pursuant to Fed. R. Civ.

P. 41(b), for want of prosecution. All costs of court are taxed against Plaintiff.

       SO ORDERED.

       August 27, 2015.

                                                            _________________________________
                                                            BARBARA M. G. LYNN
                                                            UNITED STATES DISTRICT JUDGE
                                                            NORTHERN DISTRICT OF TEXAS




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